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 1                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
 2                                  EASTERN DIVISION
 3                                             )
        UNITED STATES OF AMERICA,              )   Case No. 17 CR 281
 4                                             )
                            Plaintiff,         )
 5                                             )
                     vs.                       )   Chicago, Illinois
 6                                             )   August 11, 2017
        CARLOS R. MEZA,                        )   10:00 a.m.
 7                                             )
                            Defendant.         )
 8
                        TRANSCRIPT OF PROCEEDINGS - Status
 9                     BEFORE THE HONORABLE ELAINE E. BUCKLO
10
        APPEARANCES:
11
        For the Plaintiff:              MR. JOHN R. LAUSCH, JR.
12                                      United States Attorney
                                        BY: MR. BRIAN R. HAVEY
13                                      Assistant United States Attorney
                                        219 South Dearborn Street
14                                      5th Floor
                                        Chicago, Illinois 60604
15
        For the Defendant:              MURPHY LAW GROUP
16                                      BY: MR. DANIEL SCHEERINGA
                                        161 North Clark Street
17                                      Suite 2550
                                        Chicago, Illinois 60601
18
19
20
21
22      Court Reporter:                 SANDRA M. MULLIN, CSR, RMR, FCRR
                                        Official Court Reporter
23                                      219 S. Dearborn Street, Room 2260
                                        Chicago, Illinois 60604
24                                      (312) 554-8244
                                        sandra_mullin@ilnd.uscourts.gov
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 1            (Proceedings heard in open court:)
 2                   THE CLERK: Calling 17 CR 281-1, USA vs. Carlos
 3      Meza.
 4                   MR. HAVEY: Good morning, Judge. Brian Havey on
 5      behalf of the United States.
 6                   MR. SCHEERINGA: Good morning, your Honor. Daniel
 7      Scheeringa for the defendant.
 8                   THE COURT: Good morning.
 9                   THE DEFENDANT: Carlos Meza.
10                   THE COURT: Good morning. There is no appearance
11      on file for defendant at all. Even -- there is really
12      nothing in the docket sheet that shows he was even
13      represented by counsel at his arraignment.
14                   MR. SCHEERINGA: He was represented by counsel at
15      his arraignment. My firm was there.
16                   THE COURT: Who?
17                   MR. SCHEERINGA: Murphy and Hourihane, your Honor.
18                   THE COURT: What -- is that his name, Murphy
19      Hourihane?
20                   MR. SCHEERINGA: That's the name of our firm, your
21      Honor.
22                   THE COURT: Who represented him at his bond
23      hearing? I mean, no appearance was filed.
24                   MR. SCHEERINGA: I apologize, your Honor, I was
25      under the impression that an appearance had been filed.
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 1                   THE COURT: It doesn't show up on the docket sheet.
 2                   MR. SCHEERINGA: I apologize, your Honor. However,
 3      my firm did --
 4                   THE COURT: All right. Well, I assume that the
 5      transcript will show that he was represented.
 6                   MR. HAVEY: He was, Judge. I was there. Gene
 7      Murphy was the defense counsel.
 8                   THE COURT: Okay.
 9                   MR. HAVEY: Now, we were told at the last status
10      that they're withdrawing.
11                   THE COURT: That's right. And somebody else --
12      that's why I looked, and I looked again this morning, to see
13      if new counsel had filed an appearance. And then, scrolling
14      through it, which I don't think I missed it because I looked
15      several times, I didn't find any appearance at all.
16                   So, anyway, are you filing an appearance?
17                   MR. SCHEERINGA: I was -- to be honest, your Honor,
18      I am not sure because our firm is currently in negotiations
19      to continue our representation of Mr. Meza. So we need a
20      little more time to work out the status of our
21      representation.
22                   THE COURT: Okay. This was over a month ago that
23      you said, or somebody said, that the attorneys were
24      withdrawing and that somebody else was going to be coming in.
25      I need to do something about this.
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 1                   MR. SCHEERINGA: At the time, your Honor, it was
 2      true, it was our -- at the time of our last hearing, it was
 3      our firm's plan to withdraw.
 4                   THE COURT: I see.
 5                   MR. SCHEERINGA: However, we've since
 6      reinstituted -- re-started negotiations with Mr. Meza to
 7      continue our representation of him.
 8                   THE COURT: Is there anything going on in this
 9      case?
10                   MR. HAVEY: Well, we've turned over discovery, your
11      Honor.
12                   THE COURT: To whom?
13                   MR. HAVEY: To their firm.
14                   THE COURT: Their firm.
15                   MR. HAVEY: Mr. Murphy, in particular.
16                   THE COURT: Okay.
17                   MR. HAVEY: And that was within a couple weeks of
18      the arraignment. So no court schedules were set, due to the
19      fact that, at our first status, there was a question about
20      Mr. Meza's representation.
21                   THE COURT: Yes. Okay. Well, I guess I should --
22      I guess I will continue this to August 23rd. There will be a
23      number of cases on the docket that day, I suspect, but I
24      don't really want to leave it longer.
25                   MR. HAVEY: May I suggest if this is not solidified
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 1      that we have a Federal Defender appointed, if Mr. Meza
 2      cannot --
 3                   THE COURT: Yes, I think we will need to do that.
 4      I don't know how it works. I mean, he hasn't filed anything
 5      indicating he can't afford an attorney, but I suppose we can
 6      just charge him, or something.
 7                   MR. SCHEERINGA: Pardon me, your Honor. Would
 8      there be any possibility of pushing it back a bit beyond the
 9      23rd, into September?
10                   THE COURT: No, I'll be gone most of September.
11      Well, we could make it -- no, I'm just not willing to let it
12      sit here without understanding that he is represented by
13      someone. And we can't just let it go indefinitely, I don't
14      think. I guess, it's sort of between you and the government
15      ultimately, but I'm not -- ordinarily we don't let cases just
16      continue indefinitely for -- because somebody is thinking
17      about whether they want this lawyer or not. I could make it
18      go to the 31st.
19                   MR. SCHEERINGA: Of August? Any objection?
20                   THE COURT: Is that all right? Is that day okay?
21                   MR. HAVEY: May we exclude time, Judge?
22                   THE COURT: Yes, we will certainly exclude time in
23      the interest of justice for him to decide upon his
24      representation, since he should be represented by a lawyer.
25      If an appearance hasn't been filed before then, I think we
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 1      had better notify the Federal Defender and have them come
 2      here, and they can figure out what's appropriate. Okay.
 3                   MR. HAVEY: All right.
 4                   THE COURT: All right. Thank you.
 5                   MR. SCHEERINGA: Thank you, your Honor.
 6                   THE DEFENDANT: Thank you.
 7                   THE COURT: Oh, wait a minute, there is another
 8      thing. There is a pretrial services violation report.
 9                   MR. HAVEY: Was that regarding the passport, your
10      Honor? I think --
11                   THE COURT: The passport --
12                   MR. HAVEY: If I remember correctly, Mr. Meza was
13      supposed to surrender his passport and could not locate it.
14                   THE DEFENDANT: Yeah, and then I signed over with
15      pretrial services. They made me sign a form, and I signed
16      it, and I gave it to them.
17                   THE COURT: Okay. I guess --
18                   THE DEFENDANT: I sent it to the pretrial in
19      Rockford, and he made me sign a --
20                   THE COURT: I'm sorry, what?
21                   THE DEFENDANT: The pretrial service made me sign a
22      form saying I could not locate it, and I signed it in their
23      location in Rockford.
24                   THE COURT: Okay. All right. Well, I'm not sure
25      why they sent this to me or gave it to me. Okay. Thank you
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 1      very much.
 2                   MR. HAVEY: Okay. Thank you.
 3                   MR. SCHEERINGA: Thank you, your Honor.
 4            (Which were all the proceedings heard.)
 5                                      CERTIFICATE
 6            I certify that the foregoing is a correct transcript
 7      from the record of proceedings in the above-entitled matter.
 8
 9      /s/ SANDRA M. MULLIN                               November 6, 2019
10      SANDRA M. MULLIN, CSR, RMR, FCRR
        Official Court Reporter
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